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 8                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN FRANCISCO DIVISION

10                                                  Master File No. 3:23-cv-03223-AMO
     IN RE OPENAI CHATGPT LITIGATION
11
     This document relates to:                      [PROPOSED] ORDER GRANTING
12                                                  PLAINTIFFS’ MOTION TO ENJOIN
     Case No. 3:23-cv-03416-AMO                     DEFENDANTS AND THEIR COUNSEL
13   Case No. 3:23-cv-04625-AMO                     FROM PROCEEDING IN
                                                    SUBSTANTIALLY SIMILAR CASES IN
14                                                  THE SOUTHERN DISTRICT OF NEW
                                                    YORK
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        Master File No. 3:23-cv-03223-AMO
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO ENJOIN DEFENDANTS AND THEIR COUNSEL
        FROM PROCEEDING IN SUBSTANTIALLY SIMILAR CASES IN THE SOUTHERN DISTRICT OF NEW YORK
              Case 3:23-cv-03223-AMO Document 98-7 Filed 02/08/24 Page 2 of 2




 1            Before the Court is Plaintiffs’ Motion to Enjoin Defendants and Their counsel from Proceeding in

 2   Substantially Similar Cases in the Southern District of New York.

 3            The Court finds that the instant action was filed before the actions captioned Authors Guild et al. v.

 4   Open AI, Inc. et al, Case No. 1:23-cv-08292-SHS (S.D.N.Y.); Alter et al. v. OpenAI, Inc.et al., Case No.

 5   1:23-cv-10211-SHS (S.D.N.Y.); Basbanes et al. v. Microsoft Corp. et al., Case No. 1:24-cv-00084-SHS

 6   (S.D.N.Y.); and The N.Y. Times v. Microsoft Corp. et al., Case No. 23-cv-11195 (S.D.N.Y.) (collectively,

 7   “S.D.N.Y. Actions”).

 8            The Court also finds that the parties, facts, claims and issues in the S.D.N.Y. Actions are

 9   substantially similar to those in the instant action for the purposes of the first-filed rule.

10            Accordingly, the Court finds the first-filed rule to apply to the subsequent-filed S.D.N.Y. Actions.

11   The Defendants, their affiliate entities, and their counsel are enjoined from proceeding in the

12   subsequently-filed actions captioned Authors Guild et al. v. Open AI, Inc. et al., Case No. 1:23-cv-08292-

13   SHS (S.D.N.Y.); Alter et al. v. OpenAI, Inc. et al., Case No. 1:23-cv-10211-SHS (S.D.N.Y.); Basbanes et

14   al. v. Microsoft Corp. et al., Case No. 1:24-cv-00084-SHS (S.D.N.Y.); and The N.Y. Times Co. v.

15   Microsoft Corp. et al., Case No. 1:23-cv-11195 (S.D.N.Y.).

16            The Court therefore GRANTS Plaintiffs’ Motion to Enjoin Defendants from Proceeding in

17   Substantially Similar Cases in the Southern District of New York.

18            IT IS SO ORDERED.

19   Dated:

20                                                           Hon. Araceli Martínez-Olguín
                                                             United States District Judge
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      Master File No. 3:23-cv-03223-AMO          1
     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO ENJOIN DEFENDANTS AND THEIR COUNSEL FROM
            PROCEEDING IN SUBSTANTIALLY SIMILAR CASES IN THE SOUTHERN DISTRICT OF NEW YORK
